                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

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JOHN DOE,                                        )
                                                 )
            Plaintiff,                           )
                                                 )
v.                                               )                  Case No. 24-617 (TJK)
                                                 )
UNITED STATES IMMIGRATION                        )
AND CUSTOMS ENFORCEMENT,                        )
                                                 )
                                                 )
            Defendant.                           )
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_______________________________________________ )

              SUPPLEMENTAL DECLARATION OF FERNANDO PINEIRO

I, Fernando Pineiro, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

        1.     I am the FOIA Director of the U.S. Immigration and Customs Enforcement (“ICE”)
Freedom of Information Act (“FOIA”) Office. I have held this position since August 14, 2022, and
I am the ICE official immediately responsible for supervising ICE responses to requests for records
under the Freedom of Information Act, 5 U.S.C § 552 (the FOIA), the Privacy Act, 5 U.S.C. §
552a (the Privacy Act), and other applicable records access statutes and regulations. Prior to this
position, I was the Deputy FOIA Officer of the ICE FOIA Office from December 29, 2013, to
August 13, 2022, and prior to that I was the FOIA Officer for three years at the Office for Civil
Rights and Civil Liberties (“CRCL”) at the U.S. Department of Homeland Security (“DHS”). The
ICE FOIA office mailing address is 500 12th Street, S.W., STOP 5009, Washington, D.C. 20536-
5009.

        2.     As the FOIA Director my official duties and responsibilities include the general
management, oversight, and supervision of the ICE FOIA Office regarding the processing of
FOIA, 5 U.S.C. § 552, and Privacy Act, 5 U.S.C. § 552a, requests received at ICE. In connection



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with my official duties and responsibilities, I am familiar with ICE’s procedures for responding to
requests for information pursuant to the FOIA and the Privacy Act.

        3.         I make this supplemental declaration in further support of ICE’s Motion for
Summary Judgment in the above-captioned action. The statements contained in this declaration
are based upon my personal knowledge, my review of documents kept by ICE in the ordinary
course of business, and information provided to me by other ICE employees in the course of my
official duties.

        4.         This declaration supplements and incorporates by reference my previous
declaration dated August 29, 2024, styled “Declaration of Fernando Pineiro.”

        5.         The purpose of this declaration is to respond to assertions made Plaintiff’s Cross-
Motion for Summary Judgment and Opposition to Defendant’s Motion for Summary Judgment
(“Cross-Motion”) regarding the sufficiency of my prior declaration, the contention that ICE failed
to conduct an adequate search and the challenges asserted regarding the withholdings applied to
the subject records.        While my prior declaration was sufficiently detailed, I provide this
supplemental declaration to provide additional clarification to the Court.

                                  I. ICE’S ADEQUACY OF THE SEARCH

        6.         In Plaintiffs’ Cross-Motion, Plaintiffs asserts that ICE’s search is inadequate
because the Government Information Law Division (“GILD”) did not search. (ECF No.19, pg.
7).

        7.         Upon filing of ICE’s Motion for Summary Judgement, ICE believed that
responsive records in possession of GILD, would reasonably be believed to have been provided
to the OPLA New York Field Office, and therefore duplicative. However, upon review of
Plaintiff’s Cross-Motion, in good faith, ICE tasked GILD to conduct a search.

        8.         On December 3, 2024, the ICE FOIA Office issued a supplemental response to
Plaintiff, along with 184 pages of responsive records to the request. As stated in the December 3,
2024, letter, ICE processed 408 pages of potentially response records. Of these pages, 137 were


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deemed duplicates, 86 were deemed non-responsive, and 184 pages were withheld in part based
on FOIA Exemptions (b)(5), (b)(6), (b)(7)(C), and (b)(7)(E). A true and complete copy of
ICE’s December 3, 2024, letter is attached hereto as Attachment A.

                                      II. FOIA EXEMPTION (B)(5)

       9.      In Plaintiff’s Cross-Motion, Plaintiff asserts that “ICE has not met its burden to
justify its withholdings pursuant to the deliberative process privilege. The deliberative process
privilege protects materials that ‘bear on the formulation or exercise of agency policy-oriented
judgment.’ Petroleum Info. Corp. v. United States Dep’t of the Interior, 976 F.2d 1429, 1435
(D.C. Cir. 1992).” Plaintiff further states that “ICE has failed to meet its burden because it has
not identified a decision associated with the records it seeks to withhold” and that the
descriptions in ICE’s Vaughn Index “do not place the relevant records in any clear decisional
process, such as a specific decision or action to be taken in response to the disclosure. See, e.g.,
Judicial Watch, Inc. v. United States Postal Serv., 297 F. Supp. 2d 252, 264 (D.D.C. 2004)
(finding that the description “‘actions taken or proposed in response to the discovery of anthrax
in the mail’” did “not identify specific final decisions or decisionmaking processes to which the
documents contributed.”) (emphasis in original).” (ECF No. 19, pg. 9)

       10.     Although Plaintiff argues that ICE did not specify the decisional process that the
withholdings relate to, as I stated in my initial declaration, the information withheld as
deliberative consists of pre-decisional advice and recommendations to agency decision makers,
and advice regarding the disclosure of Plaintiff’s information. The advice and recommendations
withheld in the email records led to the agency’s determination that the inadvertent disclosure
violated 8 C.F.R. § 208.6. Additionally, the advice, recommendations, and conclusions in the
email records led to decisions regarding the issuance of a clawback letter to the Nassau County
District Attorney’s Office, the issuance of a letter to Plaintiff regarding the inadvertent
disclosure, and ICE’s decision to agree to either join in a motion to reopen or not oppose a
motion to remand Plaintiff’s removal proceedings from the Board of Immigration Appeals to the
immigration court under INA § 240(c)(7)(A), as well as a final decision about ICE’s response to
Plaintiff’s correspondence requesting immediate release of Plaintiff from detention.



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       11.     Upon further review of Plaintiff’s assertions that “ICE seeks to withhold another
document based on the insufficient statement that it is a draft. See Vaughn Index Doc. No. 162-
163/L8” (ECF No. 19, pg. 12), in the spirit of cooperation and as an exercise of the discretion,
ICE has determined to release the letter identified in ICE’s Vaughn Index at 162-163/L8. This
was produced to Plaintiff as part of ICE’s December 3, 2024, supplemental response.

       12.     Further, in Plaintiff’s Cross-Motion, Plaintiff argue that ICE has not met its
burden to withhold records under the attorney-client privilege. To my knowledge, the
confidential communications withheld under the attorney-client privilege have not been
disclosed to any third-party.

                                  III. FORESEEABLE HARM

       13.     Plaintiff’s Cross-Motion asserts that “ICE has not demonstrated that it ‘reasonably
foresees that disclosure would harm an interest protected by a [FOIA exemption].’ 5 U.S.C. §
552(a)(8)(A)(i).”

       14.     The FOIA Improvement Act of 2016 simply codified the Department of Justice’s
foreseeable harm standard which ICE has been following for years. To the extent that it is not
already clear or there is any confusion, ICE FOIA only withholds information when the agency
reasonably foresees that disclosure would harm an interest protected by an exemption or disclosure
is prohibited by law.

       15.     Upon review of Plaintiff’s Cross-Motion, I aver that two email communications
referenced by Plaintiff (ECF No. 19, pgs. 18-19), Suppl. Production at 14-15, Doc. No. 142-
143/L24 and Suppl. Production at 14; Doc. No. 142/L25, were incorrectly released due to human
error and should be withheld pursuant to FOIA Exemption (b)(5) as deliberative and attorney-
client privileged information.

       16.     With respect to the remaining Exemptions (b)(5), as I stated in my previous
declaration, the agency reasonably foresees that disclosure would: 1) harm the deliberative process
privilege which protects the integrity of the deliberative or decision-making processes within the
agency by exempting from mandatory disclosure opinions, conclusions, and recommendations

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included within inter-agency or intra-agency documents; 2) harm the expression of candid
opinions and the free and frank exchange of information among agency personnel, which would
result in a chilling effect on intra- and inter-agency communications; and 3) cause harm if a draft,
containing un-finalized information regarding agency policies and law enforcement actions or
techniques were released, because the public could potentially become confused regarding ICE’s
mission and law enforcement activities.

                                     IV. SEGREGABILITY

       17.     5 U.S.C. § 552(b) requires that “[a]ny reasonably segregable portion of a record
shall be provided to any person requesting such record after deletion of the portions which are
exempt.” As I stated in my previous declaration, a line-by-line review was conducted to identify
information exempt from disclosure or for which a discretionary waiver of exemption could be
applied and all information not exempted from disclosure pursuant to the FOIA exemptions
specified above were correctly segregated and non-exempt portions were released.

       18.     I further add that the line-by-line review was conducted by multiple ICE employees
and, in connection with that process, on September 9, 2024, the agency in good-faith made a
supplemental, discretionary release of portions of 42 pages where it was determined additional
information could be released that was previously withheld under FOIA Exemptions (b)(5) and
(b)(7)(E). A true and complete copy of ICE’s September 9, 2024 letter is attached hereto as
Attachment B.

I declare under penalty of perjury that the forgoing is true and correct to the best of my knowledge
and belief.

                                                        Digitally signed by
Signed this ____ day of December 2024.
                                            FERNANDO    FERNANDO PINEIRO
                                                        JR
                                            PINEIRO JR  Date: 2024.12.04
                              ___________________________________
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                              Fernando Pineiro, FOIA Director
                              Freedom of Information Act Office
                              U.S. Department of Homeland Security
                              U.S. Immigration and Customs Enforcement
                              500 12th Street, S.W., Stop 5009
                              Washington, DC 20536-5009

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